Case 1:21-cv-06400-JPC Document 37 Filed 02/10/22 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x Case No.: 1:21-cv-6400 (JCP) (SDA)
NICK GIOULES,

Plaintiff, AFFIDAVIT OF SERVICE
-against-

ANTIGUA PHARMACY LLC, and BRENDALIS

 

ANTIGUA
Defendants.
X
STATE OF NEW YORK )
)ss.:
COUNTY OF QUEENS )

ZOE CABALLERO, being duly sworn, deposes and says:

That deponent is not a party to the action is over 18 years of age and is employed in Queens, New
York.

That on the 10" day of February, 2022 deponent served the within this DECLARATION IN
SUPPORT OF MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANTS by
depositing a copy thereof enclosed in a postpaid addressed wrapper, in an official depository under
the exclusive care and custody of the United States Postal Service within New York State
addressed to the following person at the last known address furnished by them:

ANTIGUA PHARMACY LLC BRENDALIS ANTIGUA

1961 Southern Boulevard c/o ANTIGUA PHARMACY LLC
Bronx, New York 10460 - 1961 Southern Boulevard
7019 1120 oo00 3845 b?bo Bronx, New York 10460

 

S019 1120 OOOO 3845 bal4y
Sworn to before me this
10" day of February 2022

Je ae Notary YY

 

 

KAROLINA SZYMANOWSKA
NOTARY PUBLIC. STATE OF NEW YORK
Registration No, 0iSZ6366644
Qualified in Queens County
Commission Expires November 6, 2024

 

 

 
